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                                                                According to the information required to be entered on this statement
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In re   Shanon Schulte                                               (check one box as directed in Part I, III, or VI of this statement):
                         Debtor(s)
                                                                            The presumption arises.
Case Number: 10-22570                                                       The presumption does not arise.
                (If known)                                                  The presumption is temporarily inapplicable.



                            CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                       AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single sttement. If the exclusion in Line 1C
applies, each joint filer must complete a separate statement.

                                Part I. MILITARY AND NON-CONSUMER DEBTORS
        Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part 1A, (1) check the box at the
        beginning of the Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3)
        complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1A
            Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
        veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
        active duty (as defined in 10 U.S.C. § 101(d)) or while I was performing a homeland defense activity (as defined in 32
        U.S.C. § 901(1)).
        Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
        the verification in Part VIII. Do not complete any of the remaining parts of this statement.
  1B
           Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
    Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
    of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
    § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
    (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
    time of active duty or homeland defense activity and for 540 days thereafter (the "exclusion period"). If you qualify for
    this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
    Reservists and National Guard Members below, (2) check the box for "The presumption is temporarily inapplicable" at the
    top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
    to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
 1C your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
    case before your exclusion period ends.

            Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
        below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
        component of the Armed Forces or the National Guard

                    a.     I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                I remain on active duty /or/
                                I was released from active duty on , which is less than 540 days before
                    this bankruptcy case was filed;
                              OR
                    b.     I am performing homeland defense activity for a period of at least 90 days /or/
                           I performed homeland defense activity for a period of at least 90 days, terminating on
                           , which is less than 540 days before this bankruptcy case was filed.
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             Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
       b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
            penalty of perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
            are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code."
            Complete only Column A ("Debtor's Income") for Lines 3-11.
  2    c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
            Column A ("Debtor's Income") and Column B (Spouse's Income) for Lines 3-11.
       d.   Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for
            Lines 3-11.
       All figures must reflect average monthly income received from all sources, derived during
       the six calendar months prior to filing the bankruptcy case, ending on the last day of the Column A          Column B
       month before the filing. If the amount of monthly income varied during the six months, you Debtor's           Spouse's
       must divide the six-month total by six, and enter the result on the appropriate line.       Income            Income
  3    Gross wages, salary, tips, bonuses, overtime, commissions.                                       0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from Line a
       and enter the difference in the appropriate column(s) of Line 4. If you operate more than
       business, profession or farm, enter aggregate numbers and provide details on an
       one
  4    Do not enter a number less than zero. Do not include any part of the business expenses
       attachment.
       entered on Line b as a deduction in Part V.
        a.    Gross receipts
        b.    Ordinary and necessary business expenses
        c.    Business income                          Subtract Line b from Line a
       Rent and other real property income. Subtract Line b from Line a and enter the difference
       in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not
       any  part of the operating expenses entered on Line b as a deduction in Part V.
       include
  5
        a.    Gross receipts
        b.    Ordinary and necessary operating
        c.    Rent and other real property income       Subtract Line b from Line a
  6    Interests, dividends, and royalties.
  7    Pension and retirement income.
       Any amounts paid by another person or entity, on a regular basis, for the household
  8    expenses of the debtor or the debtor's dependents, including child support paid for that      1,700.00
       purpose. Do not include alimony or separate maintenance payments or amounts paid by
       your spouse if Column B is completed.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
       However, if you contend that unemployment compensation received by you or your spouse
       was a benefit under the Social Security Act, do not list the amount of such compensation in
  9    Column A or B, but instead state the amount in the space below:
        Unemployment compensation claimed to
        be a benefit under the Social Security Act      Debtor            Spouse
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       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Do not include alimony or separate maintenance payments
       paid by your spouse if Column B is completed, but include all other payments of
 10    alimony or separate maintenance. Do not include any benefits received under the Social
       Security Act or payments received as a victim of a war crime, crime against humanity, or          850.00
       as a of international or domestic terrorism.
       victim
        a. Child SUpport
        b.
        Total and enter on Line 10
       Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
 11
       and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).
                                                                                                        2,550.00             0.00
       Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
 12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
       completed, enter the amount from Line 11, Column A.                                                        2,550.00

                                Part III. APPLICATION OF § 707(b)(7) EXCLUSION
 13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
       12 and enter the result.                                                                                         30,600.00
       Applicable median family income. Enter the median family income for the applicable state and
       household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
 14    the bankruptcy court.
       a. Enter the debtor's state of residence: Illinois   b. Enter debtor's household size: 2                         52,367.00
       Application of Section 707(b)(7). Check the applicable box and proceed as directed.
           The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does
 15
           not arise" at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
           The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

             Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)
             Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
 16    Enter the amount from Line 12.                                                                                    2,550.00
       Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
       Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
       debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
 17    payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
       dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
       a separate page. If you did not check box at Line 2.c, enter zero.

        a.
        b.
        c.
        Total and enter on Line 17.
 18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

                          Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
    National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS
19A National Standards for Food, Clothing and Other Items for the applicable household size. (This
    is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
    information
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     National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
     of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
     of-Pocket
     Out-      Health Care for persons 65 years of age or older. (This information is available at
     www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
     your household who are under 65 years of age, and enter in Line b2 the number of members of your
 19B household who are 65 years of age, and enter in Line b2 the number of members of your
     the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household
     members
     under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
     members 65 aned older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
     household
     amount, and enter the result in Line 19B.
        Household members under 65 years of age              Household members 65 years of age or older
        a1. Allowance per member                             a1. Allowance per member
        b1. Number of members                                b1. Number of members
        c1. Subtotal                                         c1. Subtotal
    Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
20A Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
    is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).
    information

     Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
     IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b
     the
     total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract
 20B Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
        a.    IRS Housing and Utilities Standards; mortgage/rental
        b.    Average Monthly Payment for any debts secured by your
              home,
              if any, as stated in Line 42
        c.    Net mortgage/rental expense                                Subtract Line b from Line a
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
       20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
       Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 21
       for
       your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       regardless of whether you use public transportation.
       and
22A Check the number of vehicles for which you pay the operating expenses or for which the operating
    expenses
    are included as a contribution to your household expenses in Line 8.
         0        1       2 or more.
    If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
    Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
    Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
    Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
    the bankruptcy court.
     Local Standards: transportation; additional public transportation expense. If you pay the operating
     expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
 22B additional deduction for your public transportation expenses, enter on Line 22B the "Public
     Transportation"
     amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or
     the clerk of the bankruptcy court.)
     from
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       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
       two
       thanvehicles.)
            1        2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards:
 23    Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
       Line a and enter the result in Line 23. Do not enter an amount less than zero.
        a.    IRS Transportation Standards, Ownership Costs
        b.    Average Monthly Payment for any debts secured by
              Vehicle
              as stated1,in Line 42
        c.    Net ownership/lease expense for Vehicle 1                    Subtract Line b from Line a

       Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
       checked the "2 or more" Box in Line 23.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards:
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Transportation
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
 24    Line a and enter the result in Line 24. Do not enter an amount less than zero.

        a.    IRS Transportation Standards, Ownership Costs
        b.    Average Monthly Payments for any debts secured by
              Vehicle
              as stated2,in Line 42
        c.    Net ownership/lease expense for Vehicle 2                    Subtract Line b from Line a

       Other Necessary Expenses; taxes. Enter the total average monthly expenses that you actually incur for all
 25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
       taxes social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
 26    payroll deductions that are required for your employment, such as retirement contributions, union dues,
       uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.
       and
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
 27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
       life or for any other form of insurance.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you
 28    are required to pay pursuant to court order, such as spousal or child support payments. Do not include
       payments on past due support obligations included in Line 44.
       Other Necessary Expenses: education for employment or for a physically or mentally
 29    challenged child. Enter the total monthly amount that you actually expend for education that is a con-
       dition of employment and for education that is required for a physically or mentally challenged dependent
       child for whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend
 30
       on childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 31    on health care expenses that is required for the health and welfare of yourself or your dependents and that
       reimbursed
       is not      by insurance or paid by a health savings account. Do not include payments for health
       insurance or health savings accounts listed in Line 34.
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
       actually pay for telecommunication services other than your basic home telephone and cell phone service -
 32    such as pagers, call waiting, caller id, special long distance, or internet service - to the extent necesssary
       for
       your health and welfare or that of your dependents. Do not include any amount previously deducted.
 33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.
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                                 Subpart B: Additional Expense Deductions under § 707(b)
                            Note: Do not include any expenses that you have listed in Lines 19-32

       Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
       or your dependents.
        a. Health Insurance
        b.    Disability Insurance
 34     c.    Health Savings Account

       Total and enter on Line 34
       If you do not actually expend this total amount, state your actual total average monthly expenditures in the
       space below:
       $ ______________
       Continued contributions to the care of household or family members. Enter the total average actual
 35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
       elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
 36    actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
       Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
       court.
       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
 37    Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
       provide your case trustee with documentation of your actual expenses, and you must demonstrate that
       the additional amount claimed is reasonable and necessary.
       Education expenses for dependent children less than 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
 38    secondary school by your dependent children less than 18 years of age. You must provide your case trustee
       with documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in the IRS Standards.
       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
 39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
       amount claimed is reasonable and necessary.
       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 40    cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

 41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
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                                             Subpart C: Deductions for Debt Payment
       Future payments of secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, and state the Average
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       Monthly
       the
       total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
       filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
       the total of the Average Monthly Payments on Line 42.
 42
                       Name of                Property Securing the Debt        Average       Does payment
                       Creditor                                                 Monthly       include taxes
                                                                                Payment       or insurance?
        a.                                                                                        yes      no
        b.                                                                                        yes      no
        c.                                                                                        yes      no
                                                                          Total: Add
                                                                          Lines a, b and
                                                                          c
       Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the
       in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
       creditor
       amount would include any sums in default that must be paid in order to avoid repossession of foreclosure
       List and total any such amounts in the following chart. If necessary, list additional entries on a separate
       page.
 43
              Name of Creditor                   Property Securing the Debt      1/60th of the Cure Amount
        a.
        b.
        c.
                                                                                 Total: Add Lines a, b, and c


 44    Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
       as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. Do not include current obligations, such as those set out in Line 28.
       Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
       following chart, multiply the amount in line a by the amount in line b, and enter the resulting
       expense.
       administrative
 45
        a.    Projected average monthly Chapter 13 plan payment.
        b.    Current multiplier for your district as determined under
              rules issued by the Executive Office for United States
              sched-
              (This information is available at www.usdoj.gov/ust/ or
              Trustees.
              the
              fromclerk of the bankruptcy court.)
        c.    Average monthly administrative expense of Chapter 13            Total: Multiply Lines
              case                                                            a and b
 46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.
                                             Subpart D: Total Deductions from Income

 47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.
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                               Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
 48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))
 49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))
 50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.
 51    60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
       enter the result.
       Initial presumption determination. Check the applicable box and proceed as directed.
            The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1
            of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
 52         The amount set forth on Line 51 is more than $10,950. Check the box for "The presumption arises" at the top of
            page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
            the remainder of Part VI.
            The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
            through 55).

 53    Enter the amount of your total non-priority unsecured debt
 54    Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.
       Secondary presumption determination. Check the applicable box and proceed as directed.
          The amount on Line 51 is less than the amount on Line 54. Check the ox for "The presumption does not arise" at
 55       the top of page 1 of this statement, and complete the verification in Part VIII.
             The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption
             arises" at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
             VII.

                                         Part VII: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
       health and welfare of you and your family and that you contend should be an additional deduction from your current
       monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should re-
       flect your average monthly expense for each item. Total the expenses.
 56

                                        Expense Description                                     Monthly Amount
        a.
        b.
        c.
                                                       Total: Add Lines a, b, and c


                                                   Part VIII: VERIFICATION

       I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,
 57    both debtors must sign.)
        Date: 5/17/10                                                      Signature: /S/ Shannon Margaret Schulte
        Date:     5/17/10                                                    Signature:
